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                                                      September 20, 2023

The Honorable Ann M. Donnelly
United States District Judge
Eastern District of New York
Brooklyn, New York 11201

       Re: Douglass Mackey

Dear Judge Donnelly:

I am writing to you regarding my son Douglass Mackey and his upcoming sentencing in October
2023. I am writing in support of Doug as he has made considerable progress in his personal life
over the last five years.

In order to illustrate the positive changes that Doug has made, I will say that Doug grew up in a
household that was supportive, loving and fun. Doug had solid relationships with the wider
family on both his maternal and paternal sides. Doug was raised to be respectful, empathetic
and live by “the Golden Rule”. We made a point to engage in volunteer work in Denver,
Colorado, when the kids were young and his father and I were active in the schools and the
community. Doug was always a quiet, introspective, sensitive child. He was on the outside of
the social scene in high school, left for college and unbeknownst to his family became enthralled
with the internet, eventually giving up friends, jobs, and his family to spend all of his time online.
We grew concerned as we saw Doug slip away from society, look unwell and detached when
visiting with him.

In 2018, Doug was doxxed and his online character was publicized through the media. The
family was shocked, upset, angry and at the same time worried about Doug. We began intense
therapy for Doug as well as for the family and observed as Doug essentially restarted his life.
The family followed a therapist's direction and painstakingly allowed Doug to own his past and
gather the tools and strength he needed to move on to construct a positive life.

The last five years have been challenging for me as I have gone through the process of
accepting the reality of Doug’s previous online life, now focusing on building a mother-son
relationship through communication, honesty and forgiveness. Doug has made great strides over
these last five years. He spent months in rehabilitative therapy, learning to be authentic and
honest with himself and others. He has come full-circle and is now part of a rehabilitative
therapy alumni group, attending monthly meetings and events while also being “on-call” for new
members who may be in crisis. Doug has formed many positive relationships through his
continued volunteer work. I had the opportunity to meet some of these friends at Doug and his
wife’s wedding earlier this year. It has been a joy watching Doug as he met his now wife,
witnessing his loving, outward-focused nature once again. Doug and his wife are expecting their
first child at the end of this year, they are family-oriented people and will be fun, loving parents.
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I will end with a quote that struck me hard a year or two ago. I asked Doug how he was
feeling about his life, specifically what would your life look like if you had not been doxxed in
2018. Doug replied, “it was the best thing that happened, it turned my life around”.
When you are considering sentencing terms, please take into account the positive steps Doug
has taken to better himself and those around him over the last five years.

Sincerely,
Kathy Mackey
